       Case 3:22-cv-00267-BAJ-SDJ          Document 241-1         02/17/25     Page 1 of 16




                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

 MMR CONSTRUCTORS, INC.,                                   CIVIL ACTION NO.: 22-CV-267

          Plaintiff,                                       JUDGE BRIAN A. JACKSON

 VERSUS                                                    MAGISTRATE JUDGE
                                                           RICHARD L. BOURGEOIS, JR.
 JB GROUP OF LA, LLC D/B/A
 INFRASTRUCTURE SOLUTIONS
 GROUP, et al.,

          Defendants.

       Defendants.
******************************************************************************

  DEFENDANT JB GROUP OF LA, LLC D/B/A INFRASTRUCTURE SOLUTIONS
 GROUP’S MEMORANDUM IN SUPPORT OF MOTION FOR PROTECTIVE ORDER

         Defendant, JB Group of LA, LLC, d/b/a/ Infrastructure Solutions Group (“ISG”),

respectfully files this memorandum in support of its motion for a protective order pursuant to

Federal Rule of Civil Procedure 26(c) to prevent Plaintiff, MMR Constructors, Inc. (“MMR”),

from continuing to pursue improper and overbroad discovery, as set forth below.

  I.     PRELIMINARY STATEMENT

         ISG seeks a protective order to stop MMR’s ongoing misuse of discovery. MMR has

repeatedly ignored relevance and proportionality limitations, and has used discovery to harass ISG,

its employees, its investors, and unrelated third parties. This motion arises from MMR’s improper

questioning at the January 27, 2025, deposition of ISG’s then-President, Ronald “Shawn”

Breeland, where MMR violated a written agreement to limit questioning to liability-related topics.

In violation of that agreement, MMR pursued improper damages-related inquiries—including

ISG’s valuation and investor relationships—and repeatedly posed questions concerning third

parties with no relevance to this case. After ISG objected and the parties were unable to resolve
    Case 3:22-cv-00267-BAJ-SDJ             Document 241-1        02/17/25    Page 2 of 16




the dispute, Magistrate Judge Bourgeois advised ISG to seek a protective order under the Federal

Rules of Civil Procedure.

       MMR’s discovery overreach extends well beyond the Breeland deposition. It is part of a

broader pattern of improper tactics, including expansive and irrelevant discovery requests into

ISG’s valuation, its investors (including Highground Holdings, LLC (“Highground”)), and the

business and investors of Nessco Group Holdings (“Nessco”), Mr. Breeland’s new employer. For

the avoidance of doubt, Nessco has no relation to ISG. It is simply the new employer for Mr.

Breeland as well as Defendant Mike Lowe, a former ISG employee who was also the topic of

several improper questions during the Breeland deposition.

       The only conceivable basis for MMR to seek discovery from third parties such as

Highground or Nessco would be to confirm whether they possess any MMR documents. MMR’s

discovery, however, is not so limited. Moreover, ISG has already conducted an exhaustive

forensic review to ensure that any such documents were identified and produced.

       ISG has implemented strict controls to prevent the unauthorized dissemination of MMR

materials, including safeguards over the devices and accounts of Mr. Breeland and Mr. Lowe as

they transitioned to their new employment. Despite these precautions, MMR continues to pursue

intrusive and harassing discovery that serves no legitimate purpose.

       Given the exhaustive discovery that has already occurred, further demands of this nature

are unwarranted and should be precluded by the Court. ISG respectfully requests that the Court

impose appropriate limits on discovery to prevent further litigation abuse and undue burden on

ISG and nonparties.




                                                2
          Case 3:22-cv-00267-BAJ-SDJ            Document 241-1            02/17/25       Page 3 of 16




    II.     RELEVANT PROCEDURAL HISTORY

            A. MMR’s Impermissible Damages Discovery.

            On January 14, 2025, MMR served a notice of deposition for Mr. Breeland, scheduling his

deposition for January 27, 2025. That same day, MMR filed a motion to compel (ECF 225),

seeking sweeping discovery into ISG’s financial and business records, including documentation

of every transaction, bid, profit statement, and valuation since ISG’s inception.1 MMR also sought

discovery from ISG’s investors unrelated to its trade secrets claims. Given the scope of MMR’s

motion and its clear intent to pursue impermissible damages discovery, ISG objected to the

deposition of Mr. Breeland, whose primary role at ISG was investor relations and fiduciary.

            On January 21, 2025, counsel for ISG and MMR met and conferred regarding the Breeland

deposition and MMR’s motion to compel. ISG maintained that the deposition should not proceed

until the Court ruled on the proper scope of damages discovery, which would avoid unnecessary

disputes and ensure that questioning remained within the bounds of relevance. MMR was unable

to articulate any reason why the Breeland deposition could not wait until those issues were

adjudicated. In an effort to reach a compromise, ISG proposed that the parties submit a joint letter

to the Magistrate requesting expedited consideration of MMR’s motion to compel, which MMR

declined.

            Despite MMR’s refusal to postpone the deposition, ISG sought to mitigate potential

disputes. ISG proposed making Mr. Breeland available for deposition if MMR agreed in writing

to limit its questioning to liability-related topics and to refrain from inquiries regarding damages,




1
         These requests bear no connection to a plausible damages calculation and amount to an improper fishing
expedition into ISG’s proprietary business information—despite the fact that MMR has not identified a single
customer it lost to ISG. ISG filed an opposition to MMR’s motion to compel on February 4, 2025, detailing the
irrelevance and overbreadth of MMR’s requests. (See ECF 233).



                                                      3
     Case 3:22-cv-00267-BAJ-SDJ                   Document 241-1            02/17/25        Page 4 of 16




including ISG’s valuation and investor relationships. Although MMR initially rejected this

proposal during the meet and confer, it later confirmed via email that it would abide by this

limitation. See Email from P.J. Kee on January 21, 2025, attached hereto as Exhibit 1. Pursuant

to this agreement, on January 22, 2025, MMR served a second notice of deposition for Mr.

Breeland, expressly stating that it would not question him regarding the extent or scope of MMR’s

damages. See Supplemental Notice of Deposition of Shawn Breeland, attached hereto as Exhibit

2, at 1 (“MMR has agreed to limit the deposition of Mr. Breeland by not asking questions regarding

the extent or scope of MMR’s damages.”).

        B. MMR Violated the Agreement During the Breeland Deposition.

        On January 27, 2025, Mr. Breeland’s deposition proceeded at MMR’s counsel’s office.

Despite the pre-deposition agreement, MMR posed damages-related questions, requiring the

parties to seek guidance from Magistrate Judge Bourgeois. MMR’s questioning was improper in

two key respects: (1) it directly violated the pre-deposition agreement by asking about damages-

related topics, including ISG’s investor relationships and financial matters, and (2) it extended into

speculative and irrelevant matters concerning third parties and nonparties with no connection to

this litigation.2

        MMR’s improper inquiries included topics relating to ISG’s valuation and investor

relations, as well as Nessco’s business operations, investor relations, and former ISG employee’s

career moves, none of which relate to MMR’s trade secrets claims.3 For example, over ISG’s


2
          To the extent that MMR seeks discovery from third parties for the limited purpose of inquiring about MMR
files, ISG will not object. However, any discovery propounded on nonparties pertaining to issues other than MMR’s
files amount to nothing more than efforts to burden and harass those nonparties, all of whom have little to no
connection to this action or the claims and defenses at issue.
3
         MMR has a history of asking harassing and irrelevant questions at depositions. For example, at Ben
Huffman’s second deposition, MMR questioned him about irrelevant and confidential documents such as investor
decks, letters to investors, documents from accountants (protected under the accountant’s privilege), and banking



                                                        4
     Case 3:22-cv-00267-BAJ-SDJ                  Document 241-1            02/17/25        Page 5 of 16




objections, MMR’s counsel asked Mr. Breeland the following questions concerning ISG’s

valuation and investor relations:

        “Were you also looking for investors to help raise capital, too?”

        “[Investor Decks] would go out to investors to try and raise capital for ISG?”

Breeland Dep. 231:23-24; 306:4-8.

        Further, over ISG’s objections, MMR’s counsel asked Mr. Breeland the following

questions concerning Nessco and Mr. Breeland’s career moves:

        “What is the anticipated relationship between ISG and Nessco?”

        “What is the succession plan when you leave [ISG]?”

Breeland Dep. 63:22-23; 109:21-22.

        Additionally, in an apparent effort to circumvent the order quashing MMR’s prior

subpoena on Highground, while also ignoring Highground’s outstanding objections to MMR’s

second subpoena on Highground4, MMR asked numerous questions relating to Highground. For

example, over ISG’s objections, MMR’s counsel asked Mr. Breeland the following questions

concerning Highground:

        “Is Highground an investor in Nessco?”

        “You eventually sold some shares in ISG to Highground, is that accurate, or sold a

        portion of the company to Highground? Was [the investment] above $5 million? Was

        it below 7 [million]?”


documents. (See ECF 119-8 at 264-285). MMR also repeatedly asked Mr. Huffman about non-relevant topics
concerning Highground (unconnected to ISG), and ISG’s lines of credit and bank relationships. Id.

4
         The January 2, 2025, subpoena issued to Highground was MMR’s second attempt to obtain this information,
as a prior subpoena served in 2022 seeking many of the same documents had been quashed by this Court. See
Highground’s Objections and Responses to Subpoena, dated January 16, 2025, attached hereto as Exhibit 3; see also
Magistrate Order dated Sept. 29, 2022, at 7-10, ECF 19, Action No. 3:22-148-BAJ-RLB related to 22:267-BAJ-RLB,
attached hereto as Exhibit 4.



                                                       5
     Case 3:22-cv-00267-BAJ-SDJ                    Document 241-1             02/17/25        Page 6 of 16




Breeland Dep. 67:12; 303:6-8, 23, 25.5

        MMR’s misconduct during the Breeland deposition demonstrates that MMR is using

discovery not as a means to obtain relevant information but as a tool for harassment.6

        C. Efforts to Prevent Disclosure of MMR Related Documents.

        The only potentially legitimate basis for MMR seeking discovery from nonparties such as

Highground, Nessco, and other third parties would be for the limited purpose of confirming that

they do not possess any MMR documents. However, ISG has already taken extensive measures

to identify and produce any and all MMR documents, and to ensure that no such materials are

accessible to Nessco personnel. Given those efforts, MMR’s continued pursuit of nonparty

discovery serves no legitimate purpose.

        In May 2022, the parties agreed to a Stipulated Preliminary Injunction (ECF 23) and

Forensic Protocol (ECF 26, 45). The Forensic Protocol was the method agreed upon by the parties

to identify and produce any information that MMR contended was confidential and/or a trade

secret that may be in the possession of ISG. ISG has conducted a thorough and exhaustive review

of its systems in compliance with the Forensic Protocol to ensure that any MMR-related materials

were identified and produced. As part of this process, ISG interviewed every employee identified

by MMR as subject to the protocol to determine whether they retained MMR documents. For




5
         Attached hereto as Exhibit 5 is a partially redacted copy of the transcript of Shawn Breeland’s deposition.
The deposition transcript is partially redacted to protect the identities and information of nonparties who are not
connected to this action, including some individuals who were the subject of MMR’s inappropriate questioning. To
the extent that the Court would like an unredacted version of Shawn Breeland’s deposition transcript, we can provide
it.

6
         MMR has a history of utilizing non-relevant information to make invalid and prejudicial assumptions. Many
non-relevant documents were produced in the Forensic Protocol that were irrelevant and confidential. This occurred
because ISG agreed to the protocol in good faith and initially did not request an expensive and lengthy review of all
the documents produced under the assumption that MMR was only looking for possible MMR documents. This
assumption has been proven untrue.



                                                         6
    Case 3:22-cv-00267-BAJ-SDJ             Document 241-1        02/17/25      Page 7 of 16




those employees who reported potentially having MMR documents on personal devices or through

personal accounts, ISG instructed them not to use or delete any such information. As for MMR

documents that might be on company devices or accounts, ISG took extensive steps to ensure the

integrity of company devices and accounts. (See ECF 130-1, at 4-5).

       To leave no doubt that all relevant materials were captured, ISG implemented an

exceptionally broad search protocol. Initially, ISG agreed to run more than sixty search terms

across its systems, including overly broad terms that resulted in the production of a vast number

of non-relevant documents. (See ECF 26, 45). When MMR sought to further expand custodians

and search terms, ISG objected, and the Court intervened, finding many of MMR’s terms to be

overbroad and disproportionate to the needs of the case. (See ECF 65, 68, 79, 101). The search

protocol was designed to capture any documents containing the term “MMR” anywhere in the

document—regardless of context—ensuring that even non-relevant documents were produced

simply due to the presence of MMR’s name. Additionally, the search protocol included the names

of the specific estimating tools and spreadsheets at issue, meaning that any ISG-created documents

based in any way on MMR materials would have been captured and produced. The protocol left

no room for any potential MMR documents to escape detection.

       As a result of these exhaustive efforts, ISG has imaged and searched more than thirty-five

devices and accounts. This costly search included using 40 to 60 search terms (depending on the

custodian) to locate any possible MMR document or derivative. Further, ISG agreed to remediate

any documents that MMR has flagged regardless of ISG’s belief regarding whether such

documents are in fact MMR’s or could be considered trade secrets under the law. ISG also

prepared and delivered to MMR the full set of forensic reports specified in Section 5 of the

Forensic Protocol, including Timeline Reports, USB Registry Reports, LNK File Analyses, Jump




                                                7
     Case 3:22-cv-00267-BAJ-SDJ                   Document 241-1            02/17/25        Page 8 of 16




List Analyses, and Shellbag Analyses. This process led to the production of over a million

documents.

        Additionally, ISG has taken extensive measures to ensure that no MMR documents are

accessible to individuals now associated with Nessco. Mr. Breeland, who resigned as ISG’s

president on February 2, 2025, obtained a new cell phone and Apple iPad for Nessco business,

neither of which has ever been connected to any ISG account or server, email, or system. Breeland

Decl. ¶¶ 3, 6, 7. Mr. Breeland even switched cell phone carriers, canceling his service with AT&T

and transferring his number to T Mobile. Id. ¶¶ 5-6. He has not used any storage devices

containing ISG or MMR information on his Nessco devices and has not accessed his former ISG

computer since leaving ISG. Id. ¶ 7.

        Similarly, Defendant Michael Lowe, formerly a district manager at ISG, resigned from ISG

on September 23, 2024, surrendering his ISG computer and email upon his departure. Lowe Decl.

¶¶ 3-4. He later obtained a new cell phone, which, along with his former ISG phone, has been

preserved by the forensic examiner. Id. ¶¶ 5-6. In the summer of 2022, Mr. Lowe turned over a

personal storage device from his MMR employment (which has remained in the possession of the

forensic examiner), and it has never been returned to him. Id. ¶ 7. Since joining Nessco in

November 2024, Mr. Lowe has used a computer issued to him by Viasat Inc. (Nessco’s parent

company at the time he was hired),7 that has never been connected to any ISG server or system.

Id. ¶¶ 9-11. Given these precautions, there is no basis for further discovery regarding Nessco, its

employees, or its investors.




7
         Lowe is currently employed by Viasat Inc. In December 2024, an investor completed a “carve-out”
acquisition of Nessco from Viasat. The acquisition is under transitions services agreement to become a stand-alone
company. Once the Nessco/Viasat transition is completed, Mike Lowe would become an employee of Nessco. See
Lowe. Decl. ¶ 11; Breeland Decl. ¶ 12.



                                                        8
       Case 3:22-cv-00267-BAJ-SDJ           Document 241-1         02/17/25      Page 9 of 16




         Lastly, upon investigation, ISG has identified two other former ISG employees who are

now employed at Viasat Inc.—Aaron Campise and Bridget Murphy. Mr. Campise and Ms.

Murphy have never worked for MMR. Mr. Campise has been employed at Viasat in an

engineering supervisor position since October 2024, while Ms. Murphy has been employed there

in an administrative and compliance role since November 2024. Neither Mr. Campise nor Ms.

Murphy perform any estimating for Viasat, which is the only business function at issue in the

case. Both individuals relinquished their ISG laptops and ISG emails upon resignation, and ISG

has preserved those accounts and devices. Additionally, both have affirmed that they do not

possess any MMR property, documents, or ISG derivatives. Given these facts, there is no basis

for any further inquiry into their employment at Viasat.

III.     ARGUMENT

         The scope of discovery is limited to non-privileged information that is relevant to the

claims or defenses and is proportional to the needs of the case. Fed. R. Civ. P. 26(b)(1). A court

has the authority to limit the frequency or extent of discovery when it determines that proposed

discovery is not relevant or not proportional to the needs of the case. Fed. R. Civ. P. 26(b)(2)(C).

Further, a court may for good cause “issue an order to protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1); see also ECF

160 at 13-14 (precluding discovery into irrelevant information); Sartin v. Exxon Mobil Corp., 2023

U.S. Dist. LEXIS 129892, at *27 (M.D. La. July 23, 2023) (“discovery directed at a litigant’s

current employer can be a tool for harassment and have a direct negative effect on the litigant’s

current employment.”).

         Good cause exists for a protective order to prevent a specific, credible, potential injury.

Blanchard & Co. v. Barrick Gold Corp., 2004 WL 737485, at *4-6 (E.D. La. April 5, 2004) (citing




                                                  9
    Case 3:22-cv-00267-BAJ-SDJ              Document 241-1          02/17/25     Page 10 of 16




Pansy v. Borough of Stroudsburg, 23 F.3d 772, 786-87 (3rd Cir. 1994)). Due to the potential for

abuse of the liberal discovery standards in civil litigation, courts have “broad discretion” to decide

“when a protective order is appropriate and what degrees of protection is required.” Seattle Times

Co. v. Rhinehart, 467 U.S. 20, 36 (1984). Accordingly, it is within the Court’s discretion to limit

the scope of discovery to certain matters. Fed. R. Civ. P. 26(c).

       ISG respectfully requests the Court exercise its broad discretion and prohibit further

discovery into (1) ISG’s valuation, whether sought from ISG, its employees, its investors, or other

nonparties; (2) Nessco’s business operations, its investors, and/or Mr. Breeland’s and Mr. Lowe’s

employment there; and (3) Highground or any other current or prospective ISG investors.

   A. Valuation Documents Are Not Relevant to Any
      Claims or Defenses, Warranting A Protective Order.

       MMR’s continued pursuit of valuation-related discovery—whether from ISG, its investors,

or unrelated third parties—is improper, unwarranted, and must be precluded. ISG’s valuation has

no bearing on any legitimate damages calculation in this case.            As ISG has consistently

maintained—including in its opposition to MMR’s motion to compel (ECF 233)—no court has

ever used a defendant’s valuation as a measure of trade secret damages. (See ECF 233 at 10-14).

Indeed, Wellogix, Inc. v. Accenture, L.L.P., 716 F.3d 867, 879-81 (5th Cir. 2013), MMR’s primary

motion to compel authority, makes it clear that the only valuation potentially relevant to damages

is the valuation of the plaintiff, not the defendant. Despite lacking any support for seeking ISG’s

valuation information, MMR has persisted in demanding documents and asking questions

concerning ISG’s valuation, including during Mr. Breeland’s deposition, in clear disregard of the

pre-deposition agreement on appropriate question topics. See Ex. 1; Ex. 2, at 1.

       In addition to the questions above (see supra at 5-6), MMR’s improper focus on ISG’s

valuation continued when it probed investor-related materials, including ISG investor decks and



                                                 10
    Case 3:22-cv-00267-BAJ-SDJ              Document 241-1         02/17/25      Page 11 of 16




financial projections sent to a banker at Blue Sky Bank. Despite knowing that communications

with the banker and ISG were exclusively related to investment matters, MMR asked: “Why were

you sending [the banker] an investor deck and your ISG projection?” (Breeland Dep. 87:21-22).

Similarly, MMR further questioned Breeland about Blue Sky as well as Vista Bank, which it knew

were potential equity backers for ISG, asking: “So, Vista Bank, and you were trying to go through

Blue Sky – Vista Bank is a new debt provider, and then Blue Sky was the potential [equity backer]

with High Ground?” (Breeland Dep. 103:25-104:3). These questions, rather than addressing any

alleged misappropriation of MMR’s trade secrets, were directed at eliciting details about ISG’s

valuation, financing efforts, and investor relationships—topics that fall squarely outside the scope

of permissible discovery. Notably, MMR failed to follow up with any questions connecting these

inquiries to MMR or its claims, confirming that its true purpose was to obtain irrelevant financial

information rather than pursue legitimate discovery.

       Given this ongoing dispute, ISG seeks a protective order to preclude MMR from continuing

to pursue valuation-related discovery from ISG, its employees, or any current or future investors.

       B.      MMR’s Efforts to Obtain Discovery
               from Nessco Warrants a Protective Order.

       MMR’s discovery efforts regarding Nessco have no legitimate basis and should be

precluded. This Court has consistently emphasized that discovery must be confined to actual

claims and defenses, not speculative or tangential matters. In Caro v. Brown & Brown of

Louisiana, LLC, 2024 U.S. Dist. LEXIS 12450 (M.D. La. Jan. 24, 2024) (Bourgeois, M.J.),

Magistrate Judge Bourgeois rejected discovery into an individual’s decision to leave one company

for another, holding that such inquiries were not relevant where they did not pertain to any claims

in the case. Likewise, in this litigation, the Court has already found that the “underlying subjective

reasons why former MMR employees left their employment at MMR has no bearing on whether



                                                 11
   Case 3:22-cv-00267-BAJ-SDJ             Document 241-1         02/17/25      Page 12 of 16




the former MMR employees misappropriated information or worked in concert with ISG to

misappropriate information.” (ECF 160 at 9). These principles apply with equal force here.

       In addition to the questions above (see supra at 5-6), MMR’s questioning of Mr. Breeland

concerning Nessco had no connection to ISG’s alleged misappropriation of trade secrets but

instead sought details about former ISG employees’ career moves, Nessco’s business operations,

and its investors. See, e.g., Breeland Dep. 72:21-22 (“What happened with the potential deal

involving Nessco, Highground and ISG?”); id. 78:23-24 (“Mike Lowe has already left to go to

Nessco, correct?”); id. 86:19-21 (“[W]as [the banker] someone that you-all contacted regarding

Nessco – potential Nessco deal?”); id. 108:9 (“Are you going to sell your stake at ISG?”); id.

108:16-17 (“I want to know how you are going to divest [from ISG]?”).

       MMR’s improper questioning also extended to MAG Capital Partners (“MAG”), the

private equity firm that acquired Nessco’s parent company in December 2024. See, e.g., Breeland

Dep. 66:6 (“MAG Capital Partners, who is that?”); id. 74:20-21 (“Have you sent any emails – have

you exchanged any e-mails with MAG Capital Partners?”); id. 102:18-19 (“How did [MAG

Capital Partners] identify you as a potential person to be CEO of Nessco?”); see also id. 66:6-

67:11, 73:25-76:22, 85:25-86:12, 97:24-98:6; Breeland Decl. ¶ 12; Lowe Decl. ¶ 11. MAG has

no connection to this case and no involvement in any of the claims at issue. The mere fact that a

private equity firm acquired an international company where a few former ISG employees now

work does not justify intrusive discovery into that firm’s business dealings. Discovery into an

unaffiliated third party, based purely on speculation that it may one day compete with MMR, is

precisely the type of overreach that Caro and this Court’s prior protective order for LSU prohibit.

(See ECF 160).




                                                12
   Case 3:22-cv-00267-BAJ-SDJ             Document 241-1         02/17/25     Page 13 of 16




       MMR’s entire justification for its improper discovery efforts is built on unfounded

speculation. MMR has repeatedly suggested that Nessco is merely a continuation of ISG, referring

to it as “ISG 2.0.” (See ECF 234-2 at 2, 4-5). This claim is baseless. Nessco was founded in 1979

in the United Kingdom and has operated internationally for decades. Breeland Decl. at ¶ 4. It is

not a newly created entity founded by former ISG employees, nor is it a direct competitor of MMR.

Rather, Nessco primarily operates in international markets, further underscoring that it is not an

extension of ISG or a significant competitor to MMR. Breeland Dep. 66:12-24. MMR’s attempt

to justify invasive discovery by relying on conjecture about Nessco’s business activities is

improper. See Travelpass Group, LLC, Partner Fusion, Inc. and Reservation Counter, LLC v.

Caesars Entertainment Corp., et al., 2021 WL 4032982, at *12 (E.D. Tex. May 11, 2021) (Rule

26 does not “tolerate discovery requests ‘based on pure speculation or conjecture.’”); see also In

re All. Pharm. Securities Litig., 1995 WL 51189, at *1 (S.D.N.Y. Feb. 9, 1995) (costly discovery

requests made to non-parties cannot be based on pure speculation or conjecture).

       Even if Nessco were a competitor, MMR’s discovery would still be improper because

extensive precautions were taken to ensure that no ISG or MMR documents were transferred to

Nessco. See supra at 6-9. Mr. Breeland and Mr. Lowe have implemented strict measures to ensure

that their transition to Nessco did not involve the use of any ISG or MMR materials, including

obtaining entirely new devices or exclusively using Nessco-issued computers. See supra at 8-9;

see also Breeland Decl. ¶¶ 3-13; Lowe Decl. ¶¶ 3-12. These steps eliminate any reasonable

concern that MMR materials could have been transferred to Nessco.

       Given the extensive forensic review ISG has conducted, and the strict measures Mr.

Breeland and Mr. Lowe have taken to separate their past employment from their current roles,

MMR has no legitimate reason to pursue further discovery into Nessco or its investors.




                                               13
   Case 3:22-cv-00267-BAJ-SDJ              Document 241-1         02/17/25      Page 14 of 16




   C. MMR’s Conduct Regarding Highground
      Warrant a Protective Order

       MMR has repeatedly attempted to obtain irrelevant discovery from Highground, despite

this Court previously quashing a subpoena served on Highground in 2022 that sought much of the

same information. Nevertheless, on January 2, 2025, MMR issued another subpoena duces tecum

to Highground, demanding similar information. See Highground’s Objections and Responses to

Subpoena, dated January 16, 2025, Ex. 3; see also Ex. 4, Magistrate Order dated Sept. 29, 2022,

at 7-10, ECF 19, Action No. 3:22-148-BAJ-RLB related to 22:267-BAJ-RLB.

       For numerous reasons described in the 2022 Court Order and repeated in Highground’s

objections, discovery from Highground is inappropriate and irrelevant. In its 2022 order, the Court

quashed MMR’s subpoena in part because it imposed an undue burden on Highground and

required MMR to first demonstrate its efforts to obtain and identify the requested discovery from

the actual parties in this litigation. See Ex. 4 at 10. Highground reiterated these same objections

in response to MMR’s latest subpoena, yet MMR has continued to ignore both the Court’s prior

ruling and Highground’s objections.

       In addition to the questions above (see supra at 5-6), instead of complying with the Court’s

directive to seek discovery from ISG or other named defendants in the first instance, MMR has

attempted to circumvent these limitations by directing extensive questioning at Mr. Breeland

regarding Highground’s business, relationships, communications, and investments.           MMR’s

questioning about Highground’s potential connections to Nessco and MAG exemplifies its

continued disregard for the Court’s prior order and its intent to improperly obtain information from

a nonparty that has already been shielded from undue discovery. See, e.g., Breeland Dep. 66:25-

67:2 (“Is there any relation between MAG Capital Partners and Highground Holdings?”); id.




                                                14
      Case 3:22-cv-00267-BAJ-SDJ           Document 241-1          02/17/25     Page 15 of 16




128:20 (“Is Highground still involved with ISG?”); id. 338:1-4 (“Did you read this to be an

instruction from Highground to tell the attorneys what to write about the litigation?”).

        MMR also inappropriately questioned Mr. Breeland about Chuck Ray, an ISG contractor

focused on governance, diligence, and banking relationships, in an attempt to elicit investor-related

information that directly violated counsel’s pre-deposition agreement. See, e.g., Breeland Dep.

67:20-21, 68:2-3 (“Do you recall . . . who is Chuck Ray . . . was he, like, a consultant at

Highground?”); id. 69:15-16 (“Well, do you remember sharing Investor Decks with Highground,

you and Chuck Ray?”); id. 306:16-18 (“And were you responsible for putting together [investor]

presentations or was it Highground?”); id. 306:21-23 (“So, before [an investor presentation] would

go out to a possible investor, Highground would have approved it?”).

        MMR’s repeated efforts to obtain discovery from Highground—despite this Court’s prior

ruling and Highground’s express objections—demonstrate a disregard for the Court’s authority

and the limits of permissible discovery. Given these tactics, a protective order is necessary to

prevent MMR from continuing its efforts to seek discovery from Highground, either directly or

indirectly.

IV.     CONCLUSION

    For the foregoing reasons, this Court should a protective Order precluding MMR from

propounding discovery requests and asking questions during depositions regarding: (i) ISG’s

business valuations; (ii) ISG’s investors, including but not limited to nonparty Highground

Holdings LLC (iii) nonparty Nessco Group Holdings except for the limited purpose of confirming

whether there are any MMR-related documents in Nessco’s possession; and (iv) Nessco’s nonparty

employees and investors.




                                                 15
   Case 3:22-cv-00267-BAJ-SDJ            Document 241-1         02/17/25      Page 16 of 16




Dated: February 17, 2025


                                                    Respectfully submitted,
                                                    DUNLAP FIORE LLC

                                                    /s/ Jennifer A. Fiore
                                                    Jennifer A. Fiore (Bar # 28038)
                                                    Erin G. Fonacier (Bar # 33861)
                                                    6700 Jefferson Hwy, Building #2
                                                    Baton Rouge, LA 70806
                                                    Telephone: 225-282-0660
                                                    Facsimile: 225-282-0680
                                                    jfiore@dunlapfiore.com
                                                    efonacier@dunlapfiore.com

                                                    SEIDEN LAW LLP

                                                    /s/ Michael T. Stolper
                                                    Michael T. Stolper (Admitted Pro Hac Vice)
                                                    Xintong Zhang (Admitted Pro Hac Vice)
                                                    322 Eighth Avenue, Suite 1200
                                                    New York, NY 10001
                                                    Telephone: 212-337-3502
                                                    mstolper@seidenlaw.com
                                                    xzhang@seidenlaw.com

                                                    Attorneys for JB Group of LA, LLC d/b/a
                                                    Infrastructure Solutions Group, Jason Yates,
                                                    Travis Dardenne, David Heroman and
                                                    Michael Lowe




                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing was filed electronically with the

Clerk of Court using the CM/ECF system, which will send notice to all counsel on this 17th day of

February 2025.

                                      /s/ Jennifer A. Fiore
                                        Jennifer A. Fiore




                                               16
